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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       1:12-cr-00027-JAW
                                              )
CAROLE SWAN, and                              )
MARSHALL SWAN,                                )
                                              )
               Defendants.                    )


     AMENDED1 ORDER ON MOTION FOR RELIEF FROM PREJUDICIAL
               JOINDER AND MOTION TO CONTINUE

       Faced with the last-minute claim by Carole Swan that she was subjected to

spousal abuse by her co-defendant husband Marshall Swan, Mr. Swan moved to

sever and continue the trial currently scheduled for jury selection and trial on July

8, 2013. Despite the expenditure of additional resources that would result from

multiple trials, the Court agrees with Marshall Swan that Carole Swan’s

allegations of spousal abuse raise the likelihood that a joint trial would be highly

prejudicial to him and the Court grants his motion to sever and to continue. The

Court will proceed on July 8, 2013 with jury selection and trial on all charges

against Carole Swan except the previously severed Hobbs Act counts.

I.     STATEMENT OF FACTS

       On February 29, 2012, a federal grand jury indicted Carole and Marshall

Swan, wife and husband, on multiple allegations of criminal fraud.                     Indictment

1        This Amended Order corrects a typographical error contained in the Order on Motion for
Relief from Prejudicial Joinder and Motion to Continue dated July 5, 2013 (ECF No. 144). On page
six of the Order, second sentence of the first full paragraph, the Order reads “evidence of long-term
spousal abuse could be not mitigated” and should read “evidence of long-term spousal abuse could
not be mitigated.”

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(ECF No. 1). After some legal rulings, a federal grand jury issued a superseding

indictment on March 28, 2013. Superseding Indictment (ECF No. 112). Counts One

through Three of the Superseding Indictment alleged Hobbs Act extortion against

Carole Swan; there are no corresponding Hobbs Act violations against Marshall

Swan. Id. at 1. Counts Four through Eight allege tax fraud and false statements

against both Carole and Marshall Swan. Id. at 2. Counts Nine through Twelve

allege false statements to obtain federal workers’ compensation against Carole

Swan; there is no corresponding allegation against Marshall Swan.         Id. at 2-5.

Count Thirteen alleges fraud on a program receiving federal funds against Carole

Swan and aiding and abetting fraud on a program receiving federal funds against

Marshall Swan. Id. at 6-7. Finally there is a forfeiture allegation against both

Defendants. Id. at 7.

      On September 7, 2012, Carole Swan moved to sever the tax fraud and

workers’ compensation fraud counts from the indictment; Marshall Swan moved for

relief from prejudicial joinder, claiming that each Defendant should be tried

separately. Def. Carole Swan’s Mot. to Sever Counts 4-8 and 9-12 from Indictment

Based on Misjoinder Under Fed. R. Crim. P. 8(a) or Prejudicial Joinder Under Fed.

R. Crim. P. 14 (ECF No. 50); Def.’s Mot. for Relief from Prejudicial Joinder (ECF No.

53). The Government objected. Objection to Defs.’ Pretrial Mots. (ECF No. 61). On

December 12, 2012, the Magistrate Judge issued a Recommended Decision,

recommending that the Court grant severance of the Hobbs Act extortion charges

from the remaining charges, but deny the motion to sever Marshall Swan from the



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remaining non-Hobbs Act counts of the Carole Swan trial. Mem. of Decision on

Carole Swan’s Mot. to Sever and Marshall Swan’s Mot. for Relief from Prejudicial

Joinder (ECF No. 86). On February 26, 2013, the Court affirmed the Recommended

Decision over multiple objections.     Order Overruling the Defs.’ and the Gov’t’s

Objections to the Magistrate Judge’s Order Granting in Part and Denying in Part

Carole Swan’s Mot. to Sever and Marshall Swan’s Mot. for Relief from Prejudicial

Joinder (ECF No. 105).

      On February 28, 2013, the Court held a telephone conference with counsel to

discuss scheduling and, based on the logistics of this complicated case, the Court set

the case ahead for trial; after further consultation, on March 5, 2013, the Court set

trial to begin on July 8, 2013. Minute Entry (ECF No. 107); (110). As of March 28,

2013, once Superseding Indictment issued in response to the contents of the

Recommended Decision, the case seemed to be ready for jury selection and trial on

July 8, 2013, with Carole Swan and Marshall Swan being tried together on all

counts, except the Hobbs Act counts.

      On July 1, 2013, Carole Swan filed her trial brief. Def. Carole Swan’s Trial

Br. (ECF No. 133) (Carole Swan Trial Br.).        Ms. Swan led off with a serious

allegation of spousal abuse against her husband, Marshall Swan:

      The evidence she will present establishes her state of mind, including
      her motivations, beliefs, knowledge and understanding, and perhaps
      most importantly her fear and lack of control resulting from actions by
      her husband, co-defendant Marshall Swan . . . . This evidence will in
      turn establish her lack of intent to defraud various agencies of
      government.




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Id. at 1. She proceeded to detail allegations against her “controlling and physically

abusive husband,” describing his behavior as “chilling”.        Id. at 8.     Ms. Swan

admitted that “this report of abuse has not been heard earlier.” Id.

      Marshall Swan reacted quickly to reassert his earlier demand that the cases

against his wife and him be tried separately, but this time on the ground that if

jointly tried, he would face allegations of spousal abuse, something that would not

arise if the cases were tried separately.      Marshall Swan’s lawyer, Walt McKee

emailed the Court, requesting a severance and the Court immediately scheduled a

telephone conference. No one was happy. See Minute Entry (ECF No. 136).

      The Government, having prepared to try a three-week trial with over one

hundred witnesses and thousands of documents against both Mr. and Ms. Swan,

faced the prospect of prosecuting only Carole Swan on only some of the counts of the

Superseding Indictment, of prosecuting her again on the remaining counts of the

superseding indictment, of prosecuting Marshall Swan separately, and in its

prosecution of Carole Swan, of having to address the volatile issue of spousal abuse.

The Government cried foul, suggesting that the late revelation of spousal abuse was

strategic, perhaps a joint defense ploy to obtain separate trials.

      Marshall Swan emphatically rejected any allegation of a joint stratagem and

asserted that the allegations of spousal abuse came as much of a surprise to him as

to the Court and the Government.           He pointed out that the spousal abuse

allegations markedly changed the defense of the case from his perspective and that

he had done nothing to prepare to defend such an allegation.



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      Carole Swan was struck to the quick by any notion that she had not acted

fairly. She rejected the Government’s claim that her new allegations were part of a

common strategy and defended her late notice by saying that she gave notice as

soon as she could.

      Faced with the Fourth of July holiday and an intervening weekend, the Court

ordered quick briefing on the issue. On July 3, 2013, Marshall Swan filed a motion

for relief from prejudicial joinder.   Def. Marshall Swan’s Second Mot. for Relief

From Prejudicial Joinder (ECF No. 137) (Def.’s Mot.). The Government responded

that same day. Gov’t Resp. in Opp’n to Marshall Swan’s Second Mot. to Sever on the

Grounds of Prejudicial Joinder (ECF No. 139) (Gov’t’s Opp’n). Carole Swan also

wrote the Court on July 3, 2013 emphasizing that she was taking no position

regarding her husband’s motions and was prepared to go forward with trial on July

8, 2013. Letter from Att’y Leonard Sharon to Hon. John A. Woodcock, Jr. (July 3,

2013) (ECF No. 141).

II.   THE PARTIES’ POSITIONS

      A.     Marshall Swan’s Motion

      Marshall Swan contends that Carole Swan’s allegations represent “mutually

antagonistic defenses”: “a jury is asked to disbelieve the core of one defense in order

to believe the core of the other.” Def.’s Mot. at 4 (citing United States v. Flores, 362

F.3d 1030, 1040 (8th Cir. 2006)). He worries that the spousal abuse allegations may

“‘introduce what is in effect a second prosecutor into a case, by turning each

codefendant into each other’s most forceful adversary.’” Id. at 5 (quoting Zafiro v.



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United States, 506 U.S. 534, 538 (1993)). Mr. Swan says that Carole Swan may be

willing to admit the evidence blaming him and then put forward evidence that

“would simply never be admissible against Marshall if he was tried alone.” Id. at 6.

      Mr. Swan is also concerned about the impact of these spousal abuse charges

on his Fifth Amendment rights, noting that he would be compelled “to testify to

rebut the allegations about conduct that [he] is not charged with.” Id. He contends

that the prejudice from the proposed evidence of long-term spousal abuse could not

be mitigated by instructions to the jury. Id. at 7. Finally, Mr. Swan points to the

late notice of this defense, saying that to properly defend this case would take at

least a month of “vigorous investigation” and he could not adequately prepare for

trial on an unheralded and prejudicial issue. Id. at 7-8.

      B.     The Government’s Opposition

      In its opposition, after reviewing the extended history of this case, the

Government noted that the trial is expected to take “15 full trial days, involve about

120 witnesses - - almost all of whom are not law enforcement witnesses - - and

hundreds of trial exhibits.” Gov’t’s Opp’n at 1-4. The Government is decidedly

skeptical of the claims of spousal abuse, observing that Ms. Swan and Mr. Swan

have continued to live together throughout this time, that Ms. Swan has failed to

produce any documents confirming that she is a victim of domestic abuse, and that

she has failed to provide notice of an expert witness. Id. at 4. The Government

notes that Ms. Swan’s allegations of spousal abuse are merely the unsworn




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assertions of her trial attorney and have not been backed up with any affidavits or

sworn declarations. Id. at 4-5.

       The Government contends that the existence of antagonistic defenses does

not necessarily justify severance. Id. at 6. (citing United States v. McLaughlin, 957

F.3d 12, 18 (1st Cir. 1992)). It proposes that a limiting instruction may cure any

prejudice. Id. The Government views Ms. Swan’s allegations as a duress defense

and points out that Ms. Swan must meet her “entry-level burden” of producing

enough evidence to support the defense’s elements. Id. at 7-8 (citing United States

v. Ayala, 289 F.3d 16, 26 (1st Cir. 2002)).

       The Government is concerned that Ms. Swan’s allegations of spousal abuse

are based purely on inadmissible evidence.        Id. at 8.   Thus, the Court could

unnecessarily sever the case, requiring two trials when one would have done justice

to both Defendants. See id. The Government points out that “neither defendant

has given this Court, on the record or in camera, any specific or admissible evidence

to meet the heavy burden of showing that there is a serious risk that a joint trial

would compromise a specific trial right of Marshall or prevent the jury from making

a reliable judgment about his guilt or innocence.” Id. at 11 (internal punctuation

omitted). Finally, if the Court grants the motion, the Government urges the Court

to revisit its earlier ruling severing the Hobbs Act counts from the other counts. Id.

at 12-13.

III.   DISCUSSION

       Federal Rule of Criminal Procedure 14(a) states:



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      If the joinder of offenses or defendants in an indictment . . . appears to
      prejudice a defendant or the government, the court may order separate
      trials of counts, sever the defendants’ trials, or provide any other relief
      that justice requires.

FED. R. CRIM. P. 14(a). The narrow question here is whether Marshall Swan would

be prejudiced from a joint trial with his wife Carole, and if so, whether the prejudice

requires a severance. The Court reluctantly concludes that the potential prejudice

against Marshall Swan is so severe that his motion to sever and continue must be

granted.

      The prejudice against Marshall Swan is clear.           If his case were tried

separately, his wife’s allegations of spousal abuse would be inadmissible and the

jury would focus on whether the Government had proven its criminal charges

against him beyond a reasonable doubt. However, if his case is tried with his wife,

the jury will likely hear her contention that Marshall Swan emotionally and

physically abused her and Marshall Swan will therefore be compelled to defend

himself not only against the prosecutor’s case against him but also his wife’s case

against him. Furthermore, Carole Swan’s allegations, at least as set forth in her

Trial Brief, are dramatic, including “black eyes, bruised ribs, and clumps of hair

being pulled from her head as she was dragged from room to room” and a “paranoid

regime aimed at tracking Carole’s slightest movements.” Carole Swan Trial Br. at

9. If the jury were to hear this evidence against Marshall Swan, there is the risk

that they would convict him not because he committed the charged crimes of federal

criminal fraud but because they believe he committed uncharged crimes of spousal




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abuse, or at least that their ability to judge him fairly on the merits would be

compromised.

      Other court decisions on similar issues, although helpful, are tied to the facts

in the individual case. See United States v. Celestin, 612 F.3d 14, 17, 19 (1st Cir.

2010) (noting that “severance is warranted ‘only if there is a serious risk that a joint

trial would compromise a specific trial right of one of the defendants, or prevent the

jury from making a reliable judgment about guilt or innocence’”) (quoting Zafiro,

506 U.S. at 539).     Despite the Government’s citation to cases supporting its

argument that antagonistic defenses between co-defendants do not per se require

severance, whether to sever is fact-specific and the Court concludes that the facts in

this case require severance. Gov.’s Opp’n at 6; see United States v. Breinig, 70 F.3d

850, 851-54 (6th Cir. 1995) (reversing the district court’s denial of a husband’s

motion to sever his trial from that of his co-defendant ex-wife given that his ex-wife

claimed that she did not have the requisite mens rea to commit tax evasion as she

“was dominated and controlled” by her ex-husband and presented “dramatic

evidence of [his] bad character” at trial); cf. McLaughlin, 957 F.2d at 14-15, 17

(affirming the district court’s denial of the defendant’s motion for severance, which

was made “long after the trial began”, in a bank fraud conspiracy case where the

defendant asserted that he was the victim of his co-defendant’s own fraudulent

scheme). The Court is not convinced that a jury instruction limiting the jury’s use

of this evidence would be successful and in any event the risk of prejudice against

Marshall Swan would evaporate with separate trials.



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       The Court is concerned about the expense, time and trouble of three separate

 trials, but where the basic fairness of the trial is at issue, the Defendant’s right to a

 fair trial must trump the extra expense. The Court is also aware, as Carole Swan

 acknowledged, that she elected to reveal these allegations at the last moment. The

 Government is suspicious that the springing of claims of spousal abuse is part of a

 joint defense strategy. Certainly, to the extent each Defendant wishes to blame the

 other, it is easier to point an accusatory finder at an empty chair. But the defense

 attorneys have steadfastly denied it and the Court accepts their representations.

       As to the Government’s concerns about whether Carole Swan will be able to

 present her claims of spousal abuse, the Court is faced with a dilemma. If it allows

 the joint trial to go forward and Carole Swan does present sufficient evidence to

 generate her accusations, the prejudice to Marshall Swan will ensue, and if she does

 not generate sufficient evidence of her claims, the prejudice to Marshall Swan will

 not occur. Yet the Court cannot make this determination without going to trial. If

 the Government is wrong and Carole Swan’s accusations against Marshall Swan

 are allowed to go forward, it will be Marshall Swan who will bear the risk of an

 unfair verdict.

       Finally, the Court declines to revisit its earlier decision to sever the Hobbs

 Act counts. During the telephone conference, the Court itself questioned whether

 Carole Swan’s earlier claim that she would like to assert her Fifth Amendment

 rights against some but not all of the pending charges would still apply since she

 would likely have to take the stand to present the spousal abuse allegations.



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 However, Attorney Sharon reiterated his client’s position that she might wish to

 remain silent and present her allegations of spousal abuse through other witnesses.

 Again, the Court cannot know what evidence Ms. Swan anticipates presenting on

 the issue of spousal abuse but the Court continues to accept defense counsel’s

 representation concerning his client’s likely assertion of her Fifth Amendment

 privilege.

 IV.   CONCLUSION

       The Court GRANTS Defendant Marshall Swan’s Second Motion for Relief

 from Prejudicial Joinder (ECF No. 137) and his Motion to Continue (ECF No. 138).

 On Monday, July 8, 2013, the Court will proceed with jury selection and trial of the

 pending counts against Carole Swan with the exception of the Hobbs Act claims.

       SO ORDERED.

                                    /s/ John A. Woodcock, Jr.
                                    JOHN A. WOODCOCK, JR.
                                    CHIEF UNITED STATES DISTRICT JUDGE


 Dated this 8th day of July, 2013




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